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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                           CASE NO. 1:97-cr-00013-MP-AK

WAYNE MATHIS,

      Defendant.
___________________________/

                                           ORDER

       This matter is before the Court on Doc. 1317, Report and Recommendation of the

Magistrate Judge, which recommends that Defendant’s Rule 60(b) motion (Doc. 1316) be

summarily dismissed as an unauthorized second or successive § 2255 motion. The Magistrate

issued the Report on May 6, 2009. Defendant has filed an objection (Doc. 1318), and the Court

has completed a de novo review of the portion of the Report to which Defendant objects.

Finding no merit to Defendant’s objection, it is hereby

       ORDERED AND ADJUDGED:

       1.      The Report and Recommendation of the Magistrate Judge (Doc. 1317) is
               ADOPTED and incorporated herein.

       2.      Plaintiff’s Rule 60(b) motion (Doc. 1316) is SUMMARILY DISMISSED as an
               unauthorized second or successive § 2255 motion, and this case is closed.

       DONE AND ORDERED this            26th day of May, 2009


                                      s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
